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                           United States District Court
                            Middle District of Florida
                              Jacksonville Division

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

      Plaintiff,

v.                                                  NO. 3:23-cv-539-BJD-PDB

CEDRIC DEWAYNE GRIFFIN,

      Defendant.



                                      Order

      The application for entry of default, Doc. 20, is granted. The clerk is
directed to enter default against Cedric Dewayne Griffin.

      Any application for default judgment must be filed within 35 days after
entry of default. Local Rule 1.01(c). Here, an application for default judgment
must include a memorandum of law (1) explaining compliance with the
Servicemembers     Civil     Relief   Act,    50   U.S.C.   §§ 3901−4043,   see
https://scra.dmdc.osd.mil/scra/#/home (website to request a report certifying
active-duty status); (2) specifying the claims on which the SEC is requesting
judgment and how the facts alleged in the pleading (as opposed to the legal
conclusions in the pleading) establish those claims, see Nishimatsu Constr. Co.
v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975) (explaining the
standard for default judgment); and (3) stating whether the SEC maintains its
jury demand for a determination of damages, see Doc. 1 at 23.
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     For future motions, counsel must use the correct case designation: 3:23-
cv-539-BJD-PDB.

     Ordered in Jacksonville, Florida, on October 8, 2024.




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